
FABER, District Judge,
concurring in part and concurring in the judgment:
I agree with the Court that under Title II, Appellant Dominic Hardie has not stated a cognizable claim. Yet the Court skirts a key issue that this case squarely presents: Whether disparate-impact claims are cognizable under Title II.
In my view, Title II’s text does not recognize disparate-impact liability, and we should clearly say so.1 Title II recognizes only disparate-treatment claims: claims involving intentional discrimination. Even if Title II did recognize disparate-impact liability, the “business! Jnecessity” defense, as the Court makes clear, requires us to reject Hardie’s claim. Tex. Dep’t of Hous. &amp; Cmty. Affairs v. Inclusive Cmtys. Project, Inc., — U.S. -, 135 S.Ct. 2507, 2517, 192 L.Ed.2d 514 (2015). Lastly, extraneous evidence such as human resources experts’, economists’ and criminologists’ reports is not helpful in determining what Title II requires. Such evidence is malleable and enables a court to adopt the result-oriented expedient it prefers.
I. Title II’s Text Precludes Disparate-Impact Liability.
The text of Title II does not authorize disparate-impact liability, which typically flows from “practices that have a ‘disproportionately adverse effect on minorities’ and are otherwise unjustified by a legitimate rationale.”. Inclusive Cmtys. Project, 135 S.Ct. at 2513 (quoting Ricci v. DeStefano, 557 U.S. 557, 577, 129 S.Ct. 2658, 174 L.Ed.2d 490 (2009) (internal quotation marks omitted)). Under disparate-impact liability, “a facially neutral ... practice may be deemed [unlawfully discriminatory] without evidence of the [defendant’s] subjective intent to discriminate that is required in a ‘disparate-treatment’ case.” Wards Cove Packing Co. v. Atonio, 490 U.S. 642, 645-46, 109 S.Ct. 2115, 104 *888L.Ed.2d 733 (1989), superseded by statute on other grounds, Civil Rights Act of 1991, § 105, 105 Stat. 1074-1075, 42 U.S.C. § 2000e-2(k) (1994 ed.).
42 U.S.C. § 2000a(a) (“Equal Access”), which is the relevant Title II provision, states:
All persons shall be entitled to the full and equal enjoyment of the goods, services, facilities, privileges, advantages, and accommodations of any place of public accommodation, as defined in this section, without discrimination or segregation on the ground of race, color, religion, or national origin.
Title II imposes no liability on organizations based on an individual’s exclusion from public places over which the organization did not have actual control, or at least some close connection. In order to impose Title II liability, a court must find that the defendant intentionally has engaged in racial discrimination in the enjoyment of public accommodations — also known as disparate treatment. Hence, the defendant itself must have denied someone or withheld from someone a privilege of a public accommodation or, at a bare minimum, have a concrete, material link to the public accommodation in question. See Clegg v. Cult Awareness Network, 18 F.3d 752, 756 (9th Cir. 1994) (twice using the phrase “closely connected”); Welsh v. Boy Scouts of America, 993 F.2d 1267, 1272 (7th Cir. 1993) (deploying the “closet ] connection]” test). Only in that circumstance is a plaintiffs exclusion from such a privilege fairly attributed to the defendant. Otherwise, the defendant may not be subjected to the cost and the opprobrium that Title II liability inflicts.
The National Collegiate Athletic Association (“NCAA”) does not have such a connection to any place or activity from which Hardie was allegedly excluded, nor does it have such a connection to any act of exclusion itself. Any decision to exclude Hardie was made and carried out by entities separate from the NCAA; the NCAA had no authority or control over those entities. Such places and activities were free to continue these tournaments, albeit without NCAA approval. The federal courts must be extremely hesitant to second-guess the decisions of non-governmental entities charged with the responsibility of developing standards and running activities. Here, the NCAA has that responsibility, and is better equipped to exercise it than the courts are. Therefore, any exclusion of Hardie should not be attributed to the NCAA.
Furthermore, the courts must demand that Title II contain a “clear statement” of congressional intent in order to infer that it authorizes disparate-impact liability. I.N.S. v. St. Cyr, 533 U.S. 289, 298-99, 121 S.Ct. 2271, 150 L.Ed.2d 347 (2001). The Supreme Court has instructed that we must employ a “clear statement” rule when we confront a question of statutory construction that “invokes the outer limits of Congress’ power.” Id. at 299, 121 S.Ct. 2271. The rule requires “the clearest statement of congressional intent,” id. at 312 n.35, 121 S.Ct. 2271, so that the courts can be “perfectly] confident] that Congress in fact intended” to wade into areas of “special constitutional concern[ ].” Dellmuth v. Muth, 491 U.S. 223, 231, 109 S.Ct. 2397, 105 L.Ed.2d 181 (1989). The rule ensures “that the legislature ... intended to bring into issue ... the critical matters involved in the judicial decision.” United States v. Bass, 404 U.S. 336, 349, 92 S.Ct. 515, 30 L.Ed.2d 488 (1971). Requiring a clear statement from Congress suggests that “ ‘Congress does not exercise lightly’ the ‘extraordinary power’ to legislate.” Arizona v. Inter Tribal Council of Ariz., Inc., — U.S. -, 133 S.Ct. 2247, 2256, 186 L.Ed.2d 239 (2013) (quoting Gregory v. *889Ashcroft, 501 U.S. 452, 460, 111 S.Ct. 2395, 115 L.Ed.2d 410 (1991)).
Disparate-impact liability implicates two constitutional concerns: equal protection and federalism. With respect to equal protection, when the courts racially balance the participants in public accommodations, they impose what is effectively a quota— be it fixed or moving. This quota arrangement confines a participant to the playing room allotted to her race; like Linda Brown and her contemporaries more than sixty-three years ago, today’s participant must learn to tailor her aspirations to the quota system’s ingenious separate but equal regime. See Brown v. Board of Education, 347 U.S. 483, 74 S.Ct. 686, 98 L.Ed. 873 (1954). Shifting quotas such as those which disparate-impact liability foists on us are “[government action[s]” that “divid[e] us by race.” Parents Involved in Community Schools v. Seattle School Dist. No. 1, 551 U.S. 701, 746, 127 S.Ct. 2738, 168 L.Ed.2d 508 (2007) (plurality opinion). They are “inherently suspect because such classifications promote notions of racial inferiority and lead to a politics of racial hostility, reinforce the belief, held by too many for too much of our history, that individuals should be judged by the color of their skin, and endorse race-based reasoning and the conception of a Nation divided into racial blocs, thus contributing to an escalation of racial hostility and conflict.” Id. (plurality opinion) (citations and internal quotation marks omitted). “One of the principal reasons race is treated as a forbidden classification is that it demeans the dignity and worth of a person to be judged by ancestry instead of by his or her own merit and essential qualities.” Rice v. Cayetano, 528 U.S. 495, 517, 120 S.Ct. 1044, 145 L.Ed.2d 1007 (2000). Since an impartial sovereign ordinarily may not make one set of rules for one race and another set of rules for another race, disparate-impact liability triggers equal-protection concerns. See Hampton v. Mow Sun Wong, 426 U.S. 88, 100, 96 S.Ct. 1895, 48 L.Ed.2d 495 (1976) (“The federal sovereign, like the States, must govern impartially.”); Bolling v. Sharpe, 347 U.S. 497, 499, 74 S.Ct. 693, 98 L.Ed. 884 (1954) (“Classifications based solely upon race must be scrutinized with particular care, since they are contrary to our traditions, and hence constitutionally suspect.”).
As for federalism, federal anti-discrimination statutes like Title II often deter state and local governments from implementing their own affairs, including their traditional police-power prerogatives. See, e.g., Inclusive Cmtys. Project, 135 S.Ct. 2507 (state agency); Gallagher v. Magner, 619 F.3d 823 (8th Cir. 2010), cert. dismissed, 565 U.S. 1187, 132 S.Ct. 1306, 181 L.Ed.2d 1035 (2012) (municipal government); In re Employment Discrimination Litigation Against State of Ala., 198 F.3d 1305 (11th Cir. 1999) (state agency). After all, Title II imposes the same obligations on state and municipal actors as it does on private actors. “The constitutionally mandated balance of power between the States and the Federal Government” exists “to ensure the protection of our fundamental liberties.” Atascadero State Hosp. v. Scanlon, 473 U.S. 234, 242, 105 S.Ct. 3142, 87 L.Ed.2d 171 (1985) (citations and internal quotation marks omitted). Because disparate-impact liability would “radically readjust[] the balance of state and national authority” under Title II’s aegis, its text need clearly say that this is the proper result. BFP v. Resolution Trust Corp., 511 U.S. 531, 544, 114 S.Ct. 1757, 128 L.Ed.2d 556 (1994) (citations omitted).
Title II contains no such clear statement. “All persons shall be entitled to the full and equal enjoyment ... without discrimination or segregation,” Title II says. 42 U.S.C. § 2000a(a). Since “[t]he statute does not define ‘discrimination]’ ” or “seg*890regation,” I consult “the ordinary meaning[s] of the word[s].” CSX Transp., Inc. v. Ala. Dept. of Revenue, 562 U.S. 277, 286, 131 S.Ct. 1101, 179 L.Ed.2d 37 (2011). The ordinary meaning of the word “discrimination” refers to the defendant’s “mak[ingj a difference in treatment or favor on a class or categorical basis in disregard of individual merit.” Webster’s Third New International Dictionary 648 (1976) (emphasis added). Additionally, an outcome-determinative Supreme Court opinion has defined “discrimination” as “[preferring members of any one group for no reason other than race or ethnic origin.” Regents of Univ. of Cal. v. Bakke, 438 U.S. 265, 307, 98 S.Ct. 2733, 57 L.Ed.2d 750 (1978) (opinion of Powell, J.) (emphasis added).
In this context, making personnel selection or preferring one person over another on an impermissible basis presupposes the defendant’s subjective intent; it involves disparate treatment. No actor can absentmindedly, by relying on subconscious stereotypes, or otherwise without a deliberately discriminatory intent or motive slip into intentional behavior such as preferring persons on a racial or ethnic basis. That would be an oxymoron. When English speakers say that someone has discriminated against a person on a forbidden ground, they are saying that committing discrimination was the actor’s intent or motive. Statistical disparities indicating that certain “practices ... fall more harshly on one group than another,” International Broth. of Teamsters v. United States, 431 U.S. 324, 335, n. 15, 97 S.Ct. 1843, 52 L.Ed.2d 396 (1977), do not establish that the defendant’s disfavor on the basis of “the protected trait ... actually motivated [her] decision” to prefer some persons over others. Hazen Paper Co. v. Biggins, 507 U.S. 604, 610, 113 S.Ct. 1701, 123 L.Ed.2d 338 (1993). By contrast, disparate-impact liability bars practices that generate disproportionately adverse consequences, even when the organizer’s motivations appear neutral, so long as there exists “an available alternative ... practice that has less disparate impact and serves the [organization’s] legitimate needs.” Ricci, 557 U.S. at 578, 129 S.Ct. 2658. Accordingly, Title IPs decision to maximize the role of the defendant’s subjective intent and to minimize the role of any statistical disparities is the opposite of how disparate-impact liability operates.
Similarly, under Title II, “segregation” is the “[unlawful] policy of ■separating people on the basis of color, nationality, religion, or the like.” Black’s Law Dictionary 1388 (8th ed. 2004) (emphasis added). This definition, too, presupposes the actor’s subjective intent; it involves disparate treatment. No actor can absentmindedly, by relying on subconscious stereotypes, or otherwise without a deliberately segregation-effectuating intent or motive slip into intentional behavior such as separating persons on a forbidden basis. When English speakers say that someone has segregated members of one group from members of another group on a prohibited basis, they are saying that committing segregation was the actor’s intent or motive. Racially-correlated statistical disparities do not establish that the defendant’s disfavor on the basis of “the protected trait ... actually motivated [her] decision” to segregate persons from one another. Hazen Paper Co, 507 U.S. at 610, 113 S.Ct. 1701. Contrast this with disparate-impact liability, which eradicates practices that generate disproportionately adverse effects, even when the organizer’s motivations appear neutral, so long as there exists “an available alternative ... practice that has less disparate impact and serves the [organization’s] legitimate needs.” Ricci, 557 U.S. at 578, 129 S.Ct. 2658. It follows that Title II’s decision to maximize the role of the defendant’s sub*891jective intent and to minimize the role of any statistical disparities is the opposite of how disparate-impact liability works.
Besides, Title II lacks a catch-all mechanism encompassing disparate-impact claims. Unlike the Fair Housing Act (“FHA”), which the Inclusive Cmtys. Project Court understood to authorize disparate-impact liability, Title II contains no “results-oriented phrase” such as “ ‘otherwise make unavailable.’ ” 135 S.Ct. at 2518 — 19 (quoting 42 U.S.C. § 3604(a)). Consequently, Title II authorizes only disparate-treatment liability.
II. Business-Necessity Defense under Title II Protects the NCAA.
Even if Title II had authorized disparate-impact liability, the business-necessity defense would immunize the NCAA’s policy. In Inclusive Cmtys. Project, the Supreme Court highlighted the long pedigree of the “ ‘business! Inecessity’ ... defense to disparate-impact claims.” 135 S.Ct. at 2517 (citations and internal quotation marks omitted). The defense must also apply to Title II, if we assume that Title II covers such claims. As long as there is “a manifest relationship” between the requirement and the organizational necessity, the court will uphold the requirement. Griggs v. Duke Power Co., 401 U.S. 424, 432, 91 S.Ct. 849, 28 L.Ed.2d 158 (1971) (citations and internal quotation marks omitted). But “it remains open to the complaining party 'to show that other tests or selection devices, without a similarly undesirable racial effect, would also serve the [organizer’s] legitimate interest in efficient and trustworthy workmanship.” Albemarle Paper Co. v. Moody, 422 U.S. 405, 425, 95 S.Ct. 2362, 45 L.Ed.2d 280 (1975) (citations and internal quotation marks omitted). Hardie has demonstrated nothing of the sort. Nor could he.
The NCAA’s or, for that matter, similar organizations’ legitimate, bona fide interest in setting up a wholesome environment with good role models for youth cannot be outweighed by some need to give former felons a chance to assimilate into society at this level. The NCAA’s interest in promoting “efficient and trustworthy [relationships]” among the athletes and their coaches, id., cannot be served without having coaches who are good role models for youth, which is not a criterion that Title II prohibits. Perhaps in the NCAA’s eyes, a felony conviction disqualifies someone from being a good role model. Moreover, the NCAA might not want to enhance its risk of exposure to liability, if the former felon should commit a crime or a tort while he is a participant. Thus, the NCAA does not wish to be affiliated with youth athletic tournaments coached by former felons. The NCAA has the right, one with robust constitutional dimensions, to decide with whom it will associate, see Boy Scouts of America v. Dale, 530 U.S. 640, 648, 120 S.Ct. 2446, 147 L.Ed.2d 554 (2000) (“The forced inclusion of an unwanted person in a group infringes the group’s freedom of expressive association [under the First Amendment] if the presence of that person affects in a significant way the group’s ability to advocate public or private viewpoints.”) — and no one can fault the NCAA. This limited restriction is consistent with Title II. Had the NCAA wanted to impose a blanket ban on former felons, Title II would have so permitted.
III. Resorts to Irrelevant and Extraneous Evidence are Impermissible.
The majority’s application of extraneous evidence such as human resources experts’, economists’ and criminologists’ reports to this case is, in my view, misplaced. First, considering such materials for the purposes of applying Title II to certain *892facts does not fall within the judicial function’s province. Second, it gives litigants the license to cherry-pick the convenient evidence they wish to submit and thus the ability to game the litigation. Third, it is not something that federal judges untutored in statistics, economics, sociology, criminology, and other social sciences are even competent to ascertain and adjudicate. Even if, by dint of luck, the designated federal judge were capable of engaging in competent social-science analysis to figure out if the impact were disparate, her doing so would not elicit the public’s confidence in the legitimate discharging of the judicial role. Never does Article III, when investing the “judicial [pjower,” U.S. Const., Art. Ill, § 1, cl. 1, in the federal courts, allow our reasoning to be informed by “questionable social[-]seience research rather than [legal] principle.” Missouri v. Jenkins, 515 U.S. 70, 114, 115 S.Ct. 2038, 132 L.Ed.2d 63 (1995) (Thomas, J., concurring). The Framers of our Constitution would have seen the federal courts’ considering such evidence as mere “pretext for” the Third Branch to “gradually] and unobserved[ly] usurp[ ]” the policy-making “power” that the Constitution commits to our coordinate branches. The Federalist No. 42, p. 265 (C. Rossiter ed. 1961) (J. Madison).
That a disproportionately high number of felons might self-identify as members of any particular race(s) does not somehow convert the NCAA policy into a racially discriminatory one. Certainly, “[s]ome activities may be such an irrational object of disfavor that, if they are targeted, and if they also happen to be engaged in exclusively or predominantly by a particular class of people, an intent to disfavor that class can readily be presumed. A tax on wearing yarmulkes is a tax on Jews,” for instance. Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 270, 113 S.Ct. 753, 122 L.Ed.2d 34 (1993) (emphasis added). A causal relationship between yarmulkes and Jewish people is obvious. But committing felonies is not “predominantly” co-extensive with or an essential element of self-identifying with certain races; and saying otherwise is both inaccurate and demeaning to individuals who do self-identify with those races. Id. The latter assertion might be the result of invidious discrimination, of the soft bigotry of low expectations, or of both. In any event, it “rests on an assumption of [racial] inferiority.” Jenkins, 515 U.S. at 114, 115 S.Ct. 2038 (Thomas, J., .concurring). Moreover, holding a defendant liable on that basis would set a pernicious precedent that the Supreme Court expressly has rejected in materially indistinguishable circumstances. See, e.g., McCleskey v. Kemp, 481 U.S. 279, 312, 107 S.Ct. 1756, 95 L.Ed.2d 262 (1987) (rejecting “study indicating] a discrepancy that appears to correlate with race.”).
The future need not be grim with limitless disparate-impact claims under Title II. Think of the children and young adults, some of the most vulnerable members of our society. What will happen to entertainment platforms for young people to demonstrate their gifts and diligence? Must such platforms admit former felons, just because those former felons belong to certain races? Does it depend on what some criminologist, sociologist, statistician or other social scientist has to say about the matter today? No and it should not. What about swimming meets where coaches can see the swimmers in compromising attire? Do former felons who happen to self-identify with particular races get a free pass in hiding behind their races and taking part in those meets? Why would Hardie’s argument not apply to both coaches and judges at athletic and performing-arts competitions? (If the coaches can be former felons, then so too can the judges and many other *893stakeholders be!) Indeed, the more subjective the craft, the worse it will be for the organizers because then they have to worry about handling both felonious coaches and felonious judges. Could this not lead the organizers to shut down various productive, public-service enterprises altogether, thereby depriving our youth (and all of us) of countless opportunities? Will this not wreak havoc on our Nation’s “vibrant and dynamic free-enterprise system[s],” Inclusive Cmtys. Project, 135 S.Ct. at 2518. committed to altruistic or profit-minded endeavors? Since the opportunity costs would be so devastating, the prospect is an unwelcome one, which — yet again — is the reason that Title II does not authorize disparate-impact liability.
The courts undoubtedly have no power to so authorize on the basis of fickle evidence, namely protean materials like the Nakamura report, with respect to which the Court says that “Hardie has offered no evidence to suggest that this difference in risk, even if small, is immaterial to achieving the NCAA’s interests.” Maj. op. at 885. But what if Hardie had — and the Court had thought it valid? What if tomorrow Dr. Kiminori Nakamura expands or contracts the study’s scope, makes new findings and devises Version 2.0 of the same report? Does Title II’s meaning or application have to evolve based on what these non-vetted, democratically non-legitimized academic studies have to say? The federal courts’ privileging certain sympathetic studies without adequately investigating their probative value or the prejudicial effect they will have is akin to our “lookfing] over the heads of the crowd and picking] out [our] friends.” Antonin Scalia, A Matter of Interpretation: Federal Courts and the Law 36 (1997).
Likewise, today “[n]either the Rosen report nor the [Equal Employment Opportunity Commission (‘EEOC’) ] Guidelines” happen to “predict the racial effect of individualized assessments on the NCAA’s applicant pool in particular.” Maj. op. at 886. So the Court deems them insufficiently helpful to Hardie’s claim. However, if just a few years down the road the Rosen report, the EEOC Guidelines, and other extraneous evidence do end up predicting such a “racial effect,” id., will we then allow an identical claim to proceed? I hope not, for that would turn us into dilettante social scientists and, worse, into omnipotent social engineers, a role we have neither the expertise nor the authority to fulfill. Consulting the cognoscenti’s social-science research, which frequently is fraught with flawed methodologies and philosophical, political, and other biases, to decide legal questions is tantamount to putting a thumb on the scales to produce a palatable result.
None of this reflects the limitations attending a federal judicial commission. Alexander Hamilton believed that the federal courts would be “the best expedient which can be devised in any government” because they help “secure a steady, upright, and impartial administration of the laws” that the whole of the American People, not just the conclave of experts, have enacted. The Federalist No. 78, p. 465 (C. Rossiter ed. 1961) (A. Hamilton). Accountable to and representative of the American People, the political branches are composed of members “sufficiently numerous to feel all the passions which actuate a multitude.” The Federalist No. 47, p. 332 (C. Van Doren ed. 1945) (J. Madison). Neither of these traits is true of the experts or, for that matter, of the federal courts. Designed to be the “least dangerous” branch, The Federalist No. 78, p. 465, one without any “political rights,” id., we are empowered to exercise “neither force nor will but merely judgment,” id. (capitalization al*894tered), when we construe our Peoples statutory and constitutional commands.
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Since Title II lacks “unmistakably clear” language authorizing disparate-impact liability, it does not reach such claims. Atascadero State Hosp., 473 U.S. at 242, 105 S.Ct. 3142. Also clear is the business-necessity defense, which precludes Hardie’s claim.
I respectfully concur in part and concur in the judgment.

. The Court's statement that "the [National Collegiate Athletic Association ('NCAA') ] does not challenge Hardie's argument that Title II encompasses disparate-impact claims,” Maj. op. at 881, tells only part of the story. True, the NCAA chooses to devote no part of its brief before this Court on that issue. However, the NCAA did raise it below, prevailed on that ground before the district court, and preserved that ground for our consideration. In fact, the NCAA stated: "In light of the NCAA's decision not to defend the district court's reasoning, the Court may deem it appropriate to appoint an amicus curiae to do so.” In other words, the NCAA strategically chose to focus on the narrower reasons in its brief. However, amici Pacific Legal Foundation ("PLF”), the Competitive Enterprise Institute ("CEI”), and the Center for Equal Opportunity ("CEO”) have argued most ably that Title II does not authorize disparate-impact liability.

